 Case 13-20987         Doc 472     Filed 12/11/15 Entered 12/11/15 14:00:17                Desc Main
                                    Document     Page 1 of 3

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Attorneys for Creditor James L. Jellis


                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF WYOMING


In re:                                          )
                                                )
JOHN CAMPBELL MCTIERNAN, JR.                    )               Case No. 13-20987
                                                )
                                Debtor.         )


                                          Entry of Appearance


         Please enter the appearance of Jay A. Gilbertz, Yonkee & Toner, LLP, as co-counsel for Creditor

James L. Jellis in the above-referenced matter. It is requested, pursuant to F.R.B.P. Rules 2002 and

9010, that all pleadings or other documents be served to the following address:

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                                              Page 1of3
Case 13-20987    Doc 472   Filed 12/11/15 Entered 12/11/15 14:00:17          Desc Main
                            Document     Page 2 of 3



    DATED this   q ':ay of December, 2015.

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                                    Page 2of3
'.    Case 13-20987       Doc 472       Filed 12/11/15 Entered 12/11/15 14:00:17
                                         Document     Page 3 of 3
                                                                                           Desc Main




                                      CERTIFICATE OF SERVICE
                                             fV
             I hereby certify that on theq   day of December, 2015, I caused the foregoing to be served
     on the other parties by depositing a copy of the same in the United States mail, postage prepaid, at
     Sheridan, Wyoming, and duly addressed to:

     Daniel Morse
     Assistant US Trustee
     308 West 2l81 Street, Room 203
     Cheyenne, WY 82001

     Ken McCartney
     The Law Offices of Ken McCartney, P.C.
     P.O. Box 1364
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                                                  Page 3of3
